                             Case 2:24-cv-11128-TJH-SP   Document 1-1      Filed 12/26/24    Page 1 of 3 Page ID
                                                                #:10
                                                         Exhibit A to the Complaint
Location: Porter Ranch, CA                                                                         IP Address: 76.50.188.187
Total Works Infringed: 33                                                                          ISP: Spectrum
 Work     Hashes                                                               UTC          Site          Published      Registered   Registration
 1        Info Hash: FDF2C8AE50747F233C8E1FAA401D78348A23859C                   12/16/2024 Tushy          05/11/2018     05/24/2018   PA0002101379
          File Hash:                                                               02:18:53
          48E442C8FA37BF89F5E8CDB35711F41AB038DEC68E2CBDF7E1F50BFF6228F8AF
 2        Info Hash: 050511E544A94851EDE7195D2AEE4D38A1102E4D                   12/16/2024 Tushy          06/15/2018     07/14/2018   PA0002128159
          File Hash:                                                               01:54:33
          DC4563E3B6ED3B0430999D1C4AF87781C5743A85D800AD1BC19ED5185A4D2AEC
 3        Info Hash: 10CAC7BEF305D5EE84A7AF0479CC93F72D62733F                   12/08/2024 Tushy          11/24/2024     12/13/2024   PA0002506272
          File Hash:                                                               06:56:06
          D23D6713FD7CDFCA1AB313FB14979ACE515EB843F7786A06A7D313FC7FC02813
 4        Info Hash: F37884A4E84145380EA4F3D70820CB9BC4A8761A                   12/08/2024 Vixen          11/08/2024     11/18/2024   PA0002500853
          File Hash:                                                               01:31:03
          74BD5D84B9F38B4789729415FDF7C81FAA8157D1EEDA3F06AFDB6A86827B365A
 5        Info Hash: 425B69EBF37AF69ECEF370C54A0B8F23AB28C401                   12/07/2024 Vixen          06/28/2019     08/27/2019   PA0002213233
          File Hash:                                                               23:38:08
          7C0FB3C1BB3F1DF8CAAC603A4D2F6E76DC9BDB04138DC2CBABB665BADAE3B47B
 6        Info Hash: ED4B327986FE079B55604C1632EC7BB074C3965E                   12/07/2024 Tushy          11/10/2024     11/18/2024   PA0002500921
          File Hash:                                                               23:22:41
          A01EA329E7D4096F5F8C256BB5FB5DBFF7E8C82CEA630F0BCDEA8E790E71FB8D
 7        Info Hash: DEB44DEF34F1AA83B0500B27FCF98F2551B2FCEA                   12/07/2024 Tushy          12/01/2024     12/13/2024   PA0002506317
          File Hash:                                                               22:21:21
          C39A9EC99C7C978A48AC643A2488BFA7C3D69750C424A83DC861616E9A001381
 8        Info Hash: DC8BB82F5B392573C584F8D21F62C7F7D0F6A0E8                   10/13/2024 TushyRaw       05/21/2024     06/18/2024   PA0002476915
          File Hash:                                                               04:33:06
          42C0334CE4EEA77E0B5CB5E3C8F88117A4215AE8A4972B8F4B8D41B2F8C5186A
 9        Info Hash: D41F89A25AF395B0005111D3B91145D8FB5186D2                   10/13/2024 TushyRaw       07/09/2024     07/16/2024   PA0002480606
          File Hash:                                                               04:31:13
          C7BE26C6B2C549E1195CE9B94FB4A69B056BD8309C2490A4AB19EE5DBD07BFF5
 10       Info Hash: AC4EAB78E34A5BFB935E4F613EC19A41223EB84C                   10/13/2024 TushyRaw       08/27/2024     09/18/2024   PA0002490456
          File Hash:                                                               04:12:36
          9F720EECB78BC50158D488B0CAD9EAF19D068A2685EF82FEB60E15B38FD4A2F6
 11       Info Hash: ACD43E99F3040FBCAB1388E22B436F03FA9E2FD7                   10/13/2024 TushyRaw       10/01/2024     10/16/2024   PA0002494747
          File Hash:                                                               03:17:31
          0EE8A3CBCF4D26AE8CD0DB86EFA6BEBA369481150C7560A6787240DEFE9692B8
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                                                             #:11
Work   Hashes                                                             UTC          Site     Published     Registered   Registration
12     Info Hash: FFA7DF9159CD24AAF77D2FFA90B6C0897357409B                10/12/2024 TushyRaw   09/17/2024    10/16/2024   PA0002494722
       File Hash:                                                            22:28:08
       4EAB31A03A3F5D3FE1565C9CC42CF2F770F07FBD7302BBB32BBEBF2777ECCE56
13     Info Hash: E0DF74D3D7E4F9A54DD02CA099D473A51BF2282F                10/12/2024 TushyRaw   09/10/2024    09/18/2024   PA0002490434
       File Hash:                                                            21:46:32
       38BA8312CF3A3350AF82CFA288D7E604640FD06C569136BFE19F83961845CFB3
14     Info Hash: 1D7C17072F65C52A3AAC0853A22C38D58DA09152                10/12/2024 Tushy      06/30/2024    07/15/2024   PA0002480674
       File Hash:                                                            21:18:25
       E4F4D1B6F39D05A072F0886F2F430DF188710E11B8F686F594D6FFCDA11D6481
15     Info Hash: 6F80ADC7AD78E41737CD90B771573DFE20CAA805                10/12/2024 Tushy      09/22/2024    10/16/2024   PA0002494781
       File Hash:                                                            21:17:03
       B95D86D5D322D19688D940EEF4611BAED29DF0FC6ED5410602131A8AFCCFB68E
16     Info Hash: C454B2FF8FB588C05F9BC02D5F8DADD432B97FB3                10/12/2024 Tushy      07/14/2024    08/14/2024   PA0002484875
       File Hash:                                                            21:13:51
       DA1EF287F24DA0F6C186AA174A799D19907BFE18A2DC0E774B4D1E9482C9762E
17     Info Hash: 5821B492293FBEA1E544890748C0744D8A5DA956                10/12/2024 TushyRaw   09/24/2024    10/16/2024   PA0002494730
       File Hash:                                                            21:07:01
       41BF30E4C5187887C163D70F7C31923F961B8C3B8C14FD028DC2386D7B73F461
18     Info Hash: 4768D016046AA75B34F387F2EF3998A12904D60F                10/12/2024 Tushy      10/06/2024    10/16/2024   PA0002494765
       File Hash:                                                            19:45:13
       058CFD05700BAB3703C823E75F9DD788503D93AAD761578EC14E851D3B8A9E91
19     Info Hash: ECFEE9A8313B2B8058F07C7AF90C6218EF8A4E45                10/12/2024 Vixen      10/04/2024    10/16/2024   PA0002494721
       File Hash:                                                            19:15:31
       91629A810A113C3F569AF6B039B5007F83B97452553058216B20D3D1AA4AD1F2
20     Info Hash: 752E7DEB87A02334B5649EE1FC8F0D941D627158                10/11/2024 Tushy      08/19/2021    10/05/2021   PA0002315293
       File Hash:                                                            05:07:02
       71B09A393C031EA3C4E064DF8E2A8D683B27DDB53606D4942CBE12A690354ED8
21     Info Hash: 324EC61E71465F4386CB6D0BEB19E8C18D533ABD                10/11/2024 Tushy      06/25/2023    07/13/2023   PA0002420342
       File Hash:                                                            04:59:12
       868D6D210F82788A4E0BC13A7CB5AE0D7C95BA237597E577C619A04A6DF583F0
22     Info Hash: F54D83B07A67B42DD126288CCD96E26BD4E25316                10/11/2024 Tushy      09/20/2020    09/29/2020   PA0002258683
       File Hash:                                                            03:32:19
       1012A4034610D20C3D0A0A716FCF4FB6F493934658BAA3A9311C1E467DBDE5F8
23     Info Hash: E8DE7DC8BC7EA1F1C4C8F28BC1C2842820BC5177                10/11/2024 Tushy      08/25/2024    09/18/2024   PA0002490453
       File Hash:                                                            03:00:07
       6AB8BC0859FB998C2B2ED4AF228B709E6C27B3FC7AB4124D501944F6145C94C3
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                                                             #:12
Work   Hashes                                                             UTC          Site     Published     Registered   Registration
24     Info Hash: 52436851D35E085EAED35AA84CCF26E6F1D81393                10/11/2024 Tushy      04/16/2023    05/14/2023   PA0002411274
       File Hash:                                                            02:33:22
       B12EFA48025E7BE51B61118A9CA4DD7F69F6F9E2B09D5A7C9AD20B37C1F5298B
25     Info Hash: 09855072A84B4BBF2D6180DEFEC9F259DC6D31E6                10/11/2024 Vixen      01/26/2024    02/13/2024   PA0002454776
       File Hash:                                                            02:29:38
       A267716F682A0BB0C8391FCCB2CE8568AF6E03D0097BD537F5CB4ABA629C9ACB
26     Info Hash: 22927D14C0C31A6E0B0794F236A36905D126CD21                10/06/2024 Tushy      05/26/2024    06/19/2024   PA0002476873
       File Hash:                                                            19:26:46
       573FECFABEFF986D9A03896CC8C72E3D5EECA7AFC2F0924D02F5ADEEE3919F05
27     Info Hash: 4A7E50403E077C6CFE5F4E27B9107F54F465601D                10/06/2024 Tushy      11/21/2021    12/09/2021   PA0002325830
       File Hash:                                                            19:23:24
       5191421E1753A446B96ADE902B5C16723834281B47CEA111A8F7C3D1ACEEE4EC
28     Info Hash: EF191B41C53BEDFDF19A61DA811CC6639A4C4B81                10/06/2024 Vixen      09/06/2024    09/18/2024   PA0002490437
       File Hash:                                                            18:21:16
       12BEFA89F1500D283F73638683D2D0100C4D058FCD1116540CE7557C113ACA85
29     Info Hash: D82B3D04FC3C942F5380175F5BD7A953DBFDBE7C                10/06/2024 Vixen      01/21/2022    02/14/2022   PA0002335466
       File Hash:                                                            17:10:09
       E18B9AE8F32CC0841E9389E6353EAF180393E302517BFD010DCA54AC172C2E1C
30     Info Hash: 6C639AA8446F7F87521D3F3E65244D3164287F1A                10/06/2024 Vixen      05/19/2023    06/09/2023   PA0002415364
       File Hash:                                                            17:04:33
       4DEB83BF65F44F882F54385B87EC7169F82748E2F40DE7B3152E2B00BAC018EB
31     Info Hash: 46C0FC7763AA487666AB2F8B870C4D11037036D2                09/25/2024 Tushy      08/04/2024    08/14/2024   PA0002484839
       File Hash:                                                            23:35:12
       BBCB034F252A7BA389CCFE36B9986631E83A26F9B72C68799556AA13DF333340
32     Info Hash: 556EBACF86AB28B054EE215F276F0B038CD9206F                09/25/2024 Tushy      09/08/2024    09/18/2024   PA0002490458
       File Hash:                                                            23:31:34
       04FF7F5E8307A1B54BAA98D04D14E9C82EDD3D8A6BF71E6F4E021A52D4E27452
33     Info Hash: 3EB8A1EBCC3DA9C21D4C0B54A0FD25F0871C7CFD                09/25/2024 Tushy      09/15/2024    10/16/2024   PA0002494784
       File Hash:                                                            04:24:58
       00F2F6E51CCEC25AA7C7925E0F188CA16921A62E355ED921AD168ABD5DBB0723
